                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                   3:04-CR-13-8

UNITED STATES OF AMERICA                  )
                                          )
vs.                                       )                 ORDER
                                          )
DENNIS KEITH            (8)               )
__________________________________________)


       THIS MATTER IS BEFORE THE COURT upon defendant Dennis Keith’s Motion to
Provide Credit for Time Served Prior to Sentencing [doc. #331].

       When the Court ordered that the defendant’s 5 year sentence would be served
concurrently with his prior 18 month sentence, the Court in essence said that the time would
begin running concurrently from that day forward. Since the defendant had already served 6
months and 22 days on an unrelated supervised release violation, he cannot get credit for that
time, but can only receive credit for the remaining 11 months and 8 days.

       Accordingly, IT IS ORDERED that the Motion is DENIED.

                                                Signed: April 30, 2009




   Case 3:04-cr-00013-FDW-DCK             Document 347        Filed 04/30/09     Page 1 of 1
